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 1 NELSON MULLINS RILEY & SCARBOROUGH LLP
   Sandra G. Ezell (SBN: 325046)
 2 Eden M. Darrell (SBN: 295659)
   901 East Byrd Street, Suite 1650
 3 Richmond,   VA 23219
   Telephone: 804.533.2900
 4 Facsimile:   804.616.4129
   Sandra.ezell@nelsonmullins.com
   Eden.darrell@nelsonmullins.com
 5
   NELSON MULLINS RILEY & SCARBOROUGH LLP
 6 Ian G. Schuler (SBN: 275052)
   750 B Street, Suite 2200
 7 San Diego, California 92101
   Telephone: 619-489-6110
 8 Facsimile: 619-821-2834
   Ian.schuler@nelsonmullins.com
 9
   NELSON MULLINS RILEY & SCARBOROUGH LLP
10 Trevor Zeiler (SBN: 325543)
   19191 South Vermont Ave., Suite 900
   Torrance, CA 90502
11 Telephone: 424.221.7400
   Facsimile: 424.221.7499
12 Trevor.zeiler@nelsonmullins.com
13
   Attorneys for Defendant
14 TESLA, INC.
15
                          UNITED STATES DISTRICT COURT
16
                       NORTHERN DISTRICT OF CALIFORNIA
17
18
   SYLVIA JACKSON and GEORGE                    Case No. 5:22-cv-04380
19 JACKSON, JR,                                 (Removed from Santa Clara County
                                                Superior Court – Case No.
20               Plaintiffs,                    22CV399465)
21         v.                                   TESLA, INC.'S NOTICE OF
                                                REMOVAL TO THE UNITED
22 TESLA, INC. and DOES ONE through             STATES DISTRICT COURT FOR
   ONE HUNDRED,                                 THE NORTHERN DISTRICT OF
23                                              CALIFORNIA UNDER 28 U.S.C. §
             Defendants.                        1332, DIVERSITY JURISDICTION
24
                                                Action Filed: June 1, 2022
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     TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1332, DIVERSITY JURISDICTION
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 1 TO THE CLERK OF THE NORTHERN DISTRICT OF CALIFORNIA:
 2         Defendant Tesla, Inc. (“Tesla”) hereby removes this case to the United States
 3 District Court for the Northern District of California pursuant to 28 U.S.C. §§ 1441 and
 4 1446. This Court has original jurisdiction over the civil lawsuit because it involves
 5 citizens of different states, and the amount in controversy exceeds $75,000, exclusive of
 6 interest and costs. In support of its Notice of Removal, Tesla states as follows:
 7                               FACTUAL BACKGROUND
 8         1.     On June 1, 2022, Plaintiffs Sylvia Jackson and George Jackson, Jr.
 9 ("Plaintiffs") filed their Complaint in the Santa Clara County Superior Court entitled:
10 Sylvia Jackson, et al. v. Tesla, Inc., Case No. 22CV399465 alleging strict liability,
11 negligence, and loss of consortium causes of action against Tesla stemming from an
12 automobile accident that occurred in Maryland. (Pl.'s Summons and Compl. attached as
13 Ex. A to Declaration of Trevor C. Zeiler (“Zeiler Decl.”).)
14         2.     Tesla is the only defendant to this action.
15         3.     Tesla submitted its Answer to Plaintiffs’ Complaint, for filing, on July 27,
16 2022, in the Santa Clara County Superior Court. (Zeiler Decl. ¶ 5 Ex. C.)
17                              DIVERSITY JURISDICTION
18         Diversity of Citizenship Exists
19         4.     Plaintiffs allege they are citizens of Montgomery County, Maryland.
20 (Compl. ¶ 1.)
21         5.     Tesla is now, and was at the time the Complaint was filed, a corporation
22 incorporated in the state of Delaware with its principal place of business in the state of
23 Texas. (Zeiler Decl. ¶ ¶ 6, 7, 8 Ex. D, E, F; Monet v. Tesla, Inc., No. 5:22-cv-00681-EJD,
24 2022 WL 2714969 (N.D. Cal. July 13, 2022) (denying motion to remand because at the
25 time plaintiff filed the complaint, Tesla was a citizen of Texas and Delaware); Sare v.
26 Tesla, Inc., No. 2:22-cv-00547-JAM-CKD (E.D. Cal. July 18, 2022) (denying motion to
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     TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
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 1 remand after finding Tesla’s principal place of business is now in Austin, Texas).)1
 2         6.     A corporation's “‘principal place of business’ is best read as referring to the
 3 place where a corporation's officers direct, control, and coordinate the
 4 corporation's activities. It is the place that Courts of Appeals have called the corporation's
 5 'nerve center.” Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).
 6         7.     On December 1, 2021, Tesla officially moved its headquarters from 3500
 7 Deer Creek Road in Palo Alto, California, to 13101 Harold Green Road, Austin, Texas
 8 (later 1 Tesla Road in Austin, Texas). (Zeiler Decl. ¶ 5, Ex. E.) Austin, Texas is the
 9 location of Tesla's "Gigafactory," a colossal manufacturing plant that covers 2,500 acres,
10 with over 10 million square feet of factory floor and cost over $1 billion to build. Tesla
11 broke ground on this facility on July 15, 2020. In 2020, there were 98 full-time Tesla
12 employees on site in additions to hundreds more continent staff. By 2021 the full-time
13 employee headcount increased to approximately 2,500. Tesla received permits to begin
14 vehicle production on December 6, 2021.
15         8.     Texas is the location where two of Tesla's high level corporate officers –
16 including its CEO and CFO – direct, control, and coordinate the company’s activities.
17 Tesla's CEO and CFO have worked out of Austin, Texas since prior to the filing of
18 Plaintiffs' Complaint. Tesla’s CEO—Elon Musk—confirmed that he had moved to
19 Texas by December 8, 2020. As CEO, Mr. Musk is involved in many facets of product
20 design, engineering, and global manufacturing of Tesla’s electric vehicles, battery
21 products and solar energy products, and has done so from Gigafactory Texas since early
22 2021. Other company leadership, who report directly to Mr. Musk, that are based in
23
     1
24     Plaintiffs incorrectly allege that Tesla's principal place of business is in California.
     (Compl., ¶ 3.) To support this allegation, Plaintiffs make representations in paragraphs
25   4-8 of their Complaint that do not satisfy the “nerve center” standard for determining a
26   corporation's principal place of business. See Hertz Corp. v. Friend, 559 U.S. 77, 92-
     93 (2010). Not only do Plaintiffs misrepresent that Tesla's Chief Financial Officer
27   (“CFO”) is located in Palo Alto when he is actually based in Texas, they omit that its
28   Chief Executive Officer (“CEO”) also works out of Texas.
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     TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
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 1 Gigafactory Texas include: (1) the Head of Tesla’s Legal Department, David Searle; (2)
 2 Tesla’s Vice President of Employee Health and Safety; and (3) and the Senior Director
 3 of the Office of the CEO and Gigafactory Texas. In addition, there are a number of
 4 other VP/Director level employees who have been working out of Austin for many
 5 months.
 6         11.    Thus, there is complete of diversity citizenship pursuant to 28 U.S.C. § 1332
 7 (a)(1) because Plaintiffs are citizens of Montgomery County, Maryland and Tesla is a
 8 citizen of Delaware and Texas.2
 9         Amount in Controversy is Satisfied
10         12.    "[A] defendant’s notice of removal need include only a plausible allegation
11 that the amount in controversy exceeds the jurisdictional threshold," and "[e]vidence
12 establishing the amount is required by § 1446(c)(2)(B) only when the plaintiff contests, or
13 the court questions, the defendant’s allegation." Dart Cherokee Basin Operating Co., LLC
14 v. Owens, 135 S. Ct. 547, 554 (2014).
15         13.    Plaintiffs allege Plaintiff Sylvia Jackson's lower extremities were crushed,
16 “resulting in amputation of both Plaintiff JACKSON'S legs above her knees.” (Compl. ¶
17 21.)
18         14.    Plaintiffs seek general non-economic damages, special economic damages,
19 and exemplary and punitive damages. (Compl. p. 25: 22-26).
20         15.    While Tesla does not concede or admit that any claims for any amounts have
21 legal or factual merit, it is evident from the Complaint that the amount in controversy
22 exceeds the jurisdictional threshold. Indeed, Plaintiff Sylvia Jackson's special damages for
23 medical expenses alone, inclusive of expenses incurred for “doctors, hospitals, surgeries,
24 nurses, and other reasonably required and medically necessary supplies and services” can
25 be expected to exceed $75,000.00. (Compl. ¶ 70.) In addition to claims for pain and
26
27   2
    “Doe” defendants shall be disregarded for removal purposes. See Bryant v. Ford
28 Motor Co., 886 F.2d 1526, 1528 (9th Cir. 1989).
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     TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1332, DIVERSITY JURISDICTION
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 1 suffering, loss of earnings and earning capacity (Compl. ¶¶ 88-89), there is a
 2 preponderance of the evidence from the face of the Complaint that the amount in
 3 controversy exceeds $75,000.00, exclusive of interest and costs.
 4                           PROCEDURAL REQUIREMENTS
 5         16.    Tesla, the only named defendant, was served with the Complaint on June 28,
 6 2022. Tesla filed this notice of removal within 30 days of the service of the summons and
 7 Complaint. (Zeiler Decl. ¶ 4, Ex. B.) Thus, removal of this lawsuit is timely under 28
 8 U.S.C. § 1446.
 9         17.    The Superior Court of the State of California for the County of Santa Clara is
10 located in the Northern District of California. Therefore, venue is proper under 28 U.S.C.
11 § 84 because this is the “district and division with which such action is pending….” (28
12 U.S.C. § 1446(a).).
13         18.    Under 28 U.S.C. § 1446(d), a copy of this notice of removal is being served
14 upon counsel for Plaintiffs, and a copy is being filed with the clerk of the Superior Court
15 of the State of California for the County of Santa Clara.
16         19.    A copy of all process, pleadings, and orders filed in state court are attached
17 hereto, as required by 28 U.S.C. § 1446(a). (Zeiler Decl., ¶ ¶ 3, 4, 5 Ex. A, B, C.)
18                                       CONCLUSION
19         20.    This Court has original jurisdiction under 28 U.S.C. § 1332 since there is
20 complete diversity of citizenship between the parties and the amount in controversy
21 exceeds $75,000, exclusive of interest and costs, and removal jurisdiction under 28 U.S.C.
22 § 1441 since all the requirements for removal have been met.
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     TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1332, DIVERSITY JURISDICTION
          Case 5:22-cv-04380 Document 1 Filed 07/28/22 Page 6 of 7




 1         21.   Having met all of the requirements for removal under 28 U.S.C. §§ 1441 and
 2 1446, the defendant Tesla requests that this Court assume complete jurisdiction in this
 3 matter.
 4
 5 DATED: July 28, 2022                    NELSON MULLINS RILEY &
                                               SCARBOROUGH LLP
 6
 7                                         BY: /s/ Trevor Zeiler
 8                                                 Sandra G. Ezell
 9                                                 Eden M. Darrell
                                                   Ian G. Schuler
10                                                 Trevor C. Zeiler
11                                                 Attorneys for Defendant
                                                   TESLA, INC.
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     TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1332, DIVERSITY JURISDICTION
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 1                              CERTIFICATE OF SERVICE
 2        I am a resident of the State of California, over the age of eighteen years, and
   not a party to the within action. My business address is 19191 South Vermont
 3 Avenue, Suite 900, Torrance, CA 90502. On the date set forth below, I served the
   within document:
 4
   TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES
 5 DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
   UNDER 28 U.S.C. § 1332, DIVERSITY JURISDICTION
 6
          BY MAIL (CCP §1013(a) and §2015.5): I served the documents by placing the
 7 envelope for collection and mailing following our ordinary business practices. I am
   readily familiar with the firm's business practice for collecting and processing
 8 documents for mailing. On the same day the document is placed for collection and
   mailing, it is deposited in the ordinary course of business with the United States Postal
 9 Service in a sealed envelope with postage fully prepaid. I am aware that on motion of
   the party served, service is presumed invalid if the postal cancellation date or postage date
10 is more than 1 day after the date of deposit for mailing in affidavit.
11       BY ELECTRONIC SERVICE (CCP 1010.6.(b)(6): Based on an agreement of
   the parties to accept service by electronic transmission, I caused the documents to be
12 sent to the addressees/persons at the electronic notification listed on the
   Service/Mailing List.
13
                                                         Attorneys for Plaintiff
14 Andrew P. McDevitt (State Bar #271371)
   Katherine S. Connolly (State Bar #343524)
15 WALKUP, MELODIA, KELLY & SCHOENBERGER
                             th
16 650 California Street, 26 Floor
   San Francisco, CA 94108-2615
17 Telephone: 415.981.7210
18 Facsimile: 415.391.6965
   Emails: amcdevitt@walkuplawoffice.com
19          kconnolly@walkuplawoffice.com
20 Jaime Jackson (Pro Hac Vice Pending)                 Attorneys for Plaintiff
21 Jaime Jackson Law
   P.O. Box 248
22 Landisville, PA 17538
23 Telephone: 717.519.7254
   Email: jaimejacksonlaw.com
24
      (Federal) I declare that I am employed in the office of a member of the bar of this
25 court at whose direction this service was made.
26         Executed on July 28, 2022, at Torrance, California.
27
28                                            Carolyn Orphey
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     TESLA, INC.'S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1332, DIVERSITY JURISDICTION
